Case: 3:21-cv-00661-wmc Document #: 1-2 Filed: 10/19/21 Page 1 of 16




                  Exhibit A
                      Case 2021CV000145
                        Case:              Document Document
                               3:21-cv-00661-wmc    1     Filed
                                                              #:09-17-2021
                                                                 1-2 Filed:                                          Page 1 Page
                                                                                                                 10/19/21   of 1 2 of 16
                                                                                                                                     FILED
STATE OF WISCONSIN                                              CIRCUIT COURT                                         ONEIDA         09-17-2021
                                                                                                                                     ONEIDA COUNTY
Heidi L Miller et al vs. Walmart, Inc.                                                     Electronic Filing                         CLERK OF CIRCUIT
                                                                                                Notice                               COURT
                                                   Case No. 2021CV000145                                                             2021CV000145
                                                   Class Code: Other-Personal Injury                                                 Honorable Patrick F
                                                                                                                                     O'Melia
                                                                                                                                     Branch 1


                                 UNITEDHEALTHCARE OF WISCONSIN, INC.
                                 10701 W. RESEARCH DRIVE
                                 WAUWATOSA WI 53226




                                                                                                                                       D
                Case number 2021CV000145 was electronically filed with/converted by the Oneida County
                Circuit Court office. The electronic filing system is designed to allow for fast, reliable exchange



                                                                                                                                     E
                of documents in court cases.




                                                                                                              T
                Parties who register as electronic parties can file, receive and view documents online through
                the court electronic filing website. A document filed electronically has the same legal effect as




                                                                                                            C
                a document filed by traditional means. Electronic parties are responsible for serving
                non-electronic parties by traditional means.




                                                                                 D A
                You may also register as an electronic party by following the instructions found at
                http://efiling.wicourts.gov/ and may withdraw as an electronic party at any time. There is a
                $20.00 fee to register as an electronic party. This fee may be waived if you file a Petition for
                Waiver of Fees and Costs Affidavit of Indigency (CV-410A) and the court finds you are



                                                       E
                indigent under §814.29, Wisconsin Statutes.




                                                     R
                If you are not represented by an attorney and would like to register an electronic party, you
                will need to enter the following code on the eFiling website while opting in as an electronic




                       N
                party.

                Pro Se opt-in code: af55cf



                     U
                Unless you register as an electronic party, you will be served with traditional paper documents
                by other parties and by the court. You must file and serve traditional paper documents.

                Registration is available to attorneys, self-represented individuals, and filing agents who are
                authorized under Wis. Stat. 799.06(2). A user must register as an individual, not as a law firm,
                agency, corporation, or other group. Non-attorney individuals representing the interests of a
                business, such as garnishees, must file by traditional means or through an attorney or filing
                agent. More information about who may participate in electronic filing is found on the court
                website.

                If you have questions regarding this notice, please contact the Clerk of Circuit Court at
                715-369-6120.

                                                                                    Oneida County Circuit Court
                                                                                    Date: September 17, 2021




GF-180(CCAP), 11/2020 Electronic Filing Notice                                                                                        §801.18(5)(d), Wisconsin Statutes
                                                 This form shall not be modified. It may be supplemented with additional material.
                      Case 2021CV000145
                        Case:              Document Document
                               3:21-cv-00661-wmc    2     Filed
                                                              #:09-17-2021
                                                                 1-2 Filed:                                          Page 1 Page
                                                                                                                 10/19/21   of 1 3 of 16
                                                                                                                                     FILED
STATE OF WISCONSIN                                              CIRCUIT COURT                                         ONEIDA         09-17-2021
                                                                                                                                     ONEIDA COUNTY
Heidi L Miller et al vs. Walmart, Inc.                                                     Electronic Filing                         CLERK OF CIRCUIT
                                                                                                Notice                               COURT
                                                   Case No. 2021CV000145                                                             2021CV000145
                                                   Class Code: Other-Personal Injury                                                 Honorable Patrick F
                                                                                                                                     O'Melia
                                                                                                                                     Branch 1


                                 WALMART, INC.
                                 702 SW 8TH STREET
                                 BENTONVILLE AR 72716




                                                                                                                                       D
                Case number 2021CV000145 was electronically filed with/converted by the Oneida County
                Circuit Court office. The electronic filing system is designed to allow for fast, reliable exchange



                                                                                                                                     E
                of documents in court cases.




                                                                                                              T
                Parties who register as electronic parties can file, receive and view documents online through
                the court electronic filing website. A document filed electronically has the same legal effect as




                                                                                                            C
                a document filed by traditional means. Electronic parties are responsible for serving
                non-electronic parties by traditional means.




                                                                                 D A
                You may also register as an electronic party by following the instructions found at
                http://efiling.wicourts.gov/ and may withdraw as an electronic party at any time. There is a
                $20.00 fee to register as an electronic party. This fee may be waived if you file a Petition for
                Waiver of Fees and Costs Affidavit of Indigency (CV-410A) and the court finds you are



                                                       E
                indigent under §814.29, Wisconsin Statutes.




                                                     R
                If you are not represented by an attorney and would like to register an electronic party, you
                will need to enter the following code on the eFiling website while opting in as an electronic




                       N
                party.

                Pro Se opt-in code: af55cf



                     U
                Unless you register as an electronic party, you will be served with traditional paper documents
                by other parties and by the court. You must file and serve traditional paper documents.

                Registration is available to attorneys, self-represented individuals, and filing agents who are
                authorized under Wis. Stat. 799.06(2). A user must register as an individual, not as a law firm,
                agency, corporation, or other group. Non-attorney individuals representing the interests of a
                business, such as garnishees, must file by traditional means or through an attorney or filing
                agent. More information about who may participate in electronic filing is found on the court
                website.

                If you have questions regarding this notice, please contact the Clerk of Circuit Court at
                715-369-6120.

                                                                                    Oneida County Circuit Court
                                                                                    Date: September 17, 2021




GF-180(CCAP), 11/2020 Electronic Filing Notice                                                                                        §801.18(5)(d), Wisconsin Statutes
                                                 This form shall not be modified. It may be supplemented with additional material.
            Case 2021CV000145
              Case:              Document Document
                     3:21-cv-00661-wmc    3     Filed
                                                    #:09-17-2021
                                                       1-2 Filed:             Page 1 Page
                                                                          10/19/21   of 6 4 of 16
                                                                                               FILED
                                                                                               09-17-2021
                                                                                               ONEIDA COUNTY
                                                                                               CLERK OF CIRCUIT
STATE OF WISCONSIN - CIRCUIT COURT - ONEIDA COUNTY                                             COURT
                                                                                               2021CV000145
                                                                                               Honorable Patrick F
HEIDI L. MILLER                                            Case No. 21 CV NEW                  O'Melia
3045 CRESCENT ROAD                                         Code No. 30107                      Branch 1
RHINELANDER WI 54501                                       Personal Injury

-and-

CHRIS C. MILLER
3045 CRESCENT ROAD
RHINELANDER, WI 54501

                                  Plaintiffs,
-and-

UNITEDHEALTHCARE OF WISCONSIN, INC
10701 W. RESEARCH DRIVE
WAUWATOSA, WI 53226

                                  Involuntary Plaintiff,

-vs-

WALMART, INC.
702 SW 8TH STREET
BENTONVILLE, AK 72716

                                   Defendants.


                                                       SUMMONS


        THE STATE OF WISCONSIN TO SAID DEFENDANT(S):

        YOU ARE HEREBY NOTIFIED that the Plaintiffs named above have filed a lawsuit or other legal
action against you. The complaint, which is attached, states the nature and basis of the legal action.
        Within twenty (20) days of receiving this summons, or within forty five (45) days if the defendant is the
State of Wisconsin or an insurance company, or within sixty (60) days if the defendant is the United States of
America, you must respond with a written answer, as that term is used in Chapter 802 of the Wisconsin Statutes,
to the complaint. The Court may reject or disregard an answer that does not follow the statutes. The answer must
be sent or delivered to the court, whose address is:

Prepared by:
Atty. Gary S. Cirilli, State Bar #1000633
Cirilli Law Offices, S.C.
116 E. Davenport Street, Rhinelander WI 54501
(715) 369-3443
(715) 369-9137 - facsimile
            Case 2021CV000145
              Case:              Document Document
                     3:21-cv-00661-wmc    3     Filed
                                                    #:09-17-2021
                                                       1-2 Filed:             Page 2 Page
                                                                          10/19/21   of 6 5 of 16




                 Clerk of Court
                 ONEIDA COUNTY COURTHOUSE
                 P.O. Box 400
                 Rhinelander, WI 54501

and to the plaintiff’s attorney, whose address is:

                 Gary S. Cirilli
                 CIRILLI LAW OFFICES, S.C.
                 116 E. Davenport Street
                 Rhinelander, WI 54501

You may have an attorney help or represent you.
        If you do not provide a proper answer within twenty (20) days, or within forty five (45) days if the
defendant is the State of Wisconsin or an insurance company, or within sixty (60) days if the defendant is the
United States of America, the court may grant judgment against you for the award of money or other legal
action requested in the complaint, and you may lose your right to object to anything that is or may be incorrect
in the complaint. A judgment may be enforced as provided by law. A judgment awarding money may become
a lien against any real estate you own now or in the future, and may also be enforced by garnishment or seizure
of property.
        Dated this 17th day of September, 2021.


                                                         CIRILLI LAW OFFICES, S.C.
                                                         Attorneys for Plaintiffs

                             Electronically signed by:   GARY S. CIRILLI
                                                         WI State Bar #1000633




Prepared by:
Atty. Gary S. Cirilli, State Bar #1000633
Cirilli Law Offices, S.C.
116 E. Davenport Street, Rhinelander WI 54501
(715) 369-3443
(715) 369-9137 - facsimile
            Case 2021CV000145
              Case:              Document Document
                     3:21-cv-00661-wmc    3     Filed
                                                    #:09-17-2021
                                                       1-2 Filed:             Page 3 Page
                                                                          10/19/21   of 6 6 of 16
                                                                                               FILED
                                                                                               09-17-2021
                                                                                               ONEIDA COUNTY
                                                                                               CLERK OF CIRCUIT
STATE OF WISCONSIN - CIRCUIT COURT - ONEIDA COUNTY                                             COURT
                                                                                               2021CV000145
                                                                                               Honorable Patrick F
HEIDI L. MILLER                                            Case No. 21 CV NEW                  O'Melia
3045 CRESCENT ROAD                                         Code No. 30107                      Branch 1
RHINELANDER WI 54501                                       Personal Injury

-and-

CHRIS C. MILLER
3045 CRESCENT ROAD
RHINELANDER, WI 54501

                                  Plaintiffs,
-and-

UNITEDHEALTHCARE OF WISCONSIN, INC
10701 W. RESEARCH DRIVE
WAUWATOSA, WI 53226

                                  Involuntary Plaintiff,

-vs-

WALMART, INC.
702 SW 8TH STREET
BENTONVILLE, AK 72716

                                   Defendants.


                                                     COMPLAINT

        NOW COMES the above named plaintiffs, Heidi L. Miller and Chris C. Miller, husband and wife, by

their attorney, Gary S. Cirilli of Cirilli Law Offices, S.C., as and for their causes of action against the above

named defendants, alleges and shows to the Court as follows:

                 1.     That the plaintiff, Heidi L. Miller, is an adult and currently resides at 3045 Crescent
                 Road, Rhinelander, WI 54501.

                 2.    That the plaintiff, Chris C. Miller, is an adult and upon information and belief, resides at
                 3045 Crescent Road, Rhinelander, WI 54501.


Prepared by:
Atty. Gary S. Cirilli, State Bar #1000633
Cirilli Law Offices, S.C.
116 E. Davenport Street, Rhinelander WI 54501
(715) 369-3443
(715) 369-9137 - facsimile
            Case 2021CV000145
              Case:              Document Document
                     3:21-cv-00661-wmc    3     Filed
                                                    #:09-17-2021
                                                       1-2 Filed:               Page 4 Page
                                                                            10/19/21   of 6 7 of 16




                 3.      That the involuntary plaintiff, UnitedHealthcare of Wisconsin, Inc., is a duly organized
                 stock company doing business consistent with the laws of the State of Wisconsin with its
                 principle place of business being located at 10701 W. Research Drive, Wauwatosa, WI 53226.
                 UnitedHealthcare of Wisconsin, Inc. is a named party to this action in that they have paid certain
                 medical bills or expenses on behalf of their insured, Heidi L. Miller, and as such, are entitled to a
                 right of subrogation thereto.

                 4.      That the defendant, Walmart, Inc., upon information and belief is a duly organized
                 corporation licensed to do business in the State of Wisconsin with its principle place of business
                 being located at 702 SW 8th Street, Bentonville, AK 72716.



                      FIRST CAUSE OF ACTION OF PLAINTIFF, HEIDI L. MILLER,
                               AGAINST ALL NAMED DEFENDANTS

                 5.       That the plaintiff realleges and incorporates herein by reference as if more fully set forth
                 in full, the foregoing paragraphs of this Complaint.

                 6.   That on or about December 20, 2018, the plaintiff, Heidi L. Miller, was a patron at the
                 Walmart retail store located on Lincoln Street in the City of Rhinelander, WI.

                 7.     That as your plaintiff, Heidi L. Miller entered the Walmart Store at approximately 11:00
                 a.m. on September 20, 2018, she slipped and fell on an accumulation of water that was in
                 existence in the vestibule immediately adjacent to the shopping carts located inside the store
                 area.

                 8.      That as your plaintiff, Heidi L. Miller, slipped on the accumulation of water located in the
                 vestibule at the Rhinelander Walmart Store, the plaintiff fell to the ground injuring the right side
                 of her body and more particularly her right hand, elbow, knee and clavicle.

                 9.     That the defendant, Walmart, Inc., had a duty to inspect its premise for the existence of
                 any dangerous conditions and further had a duty to warn or make safe of any dangerous
                 condition that it knew or should have known about through the exercise of reasonable diligence
                 and care of that condition’s existence.

                 10.     That the defendant, Walmart, Inc., breeched the duty owed to the plaintiff, Heidi L.
                 Miller, as a business invitee to maintain the premises in a reasonably safe manner so that its
                 invitees, up to and including the plaintiff, Heide L. Miller, would not be injured while on the
                 premise.

                 11.     That as a direct and proximate result of the breech of the duty owed by the defendant to
                 the plaintiff named herein, the plaintiff, Heidi L. Miller, has suffered serious personal injuries
                 including physical damage to her right hand, elbow, knee and clavicle which have resulted in
                 past medical expenses, past pain and suffering and upon information and belief, said conditions
                 are believed to be permanent in nature, which will cause future pain and suffering, future
Prepared by:
Atty. Gary S. Cirilli, State Bar #1000633
Cirilli Law Offices, S.C.
116 E. Davenport Street, Rhinelander WI 54501
(715) 369-3443
(715) 369-9137 - facsimile
            Case 2021CV000145
              Case:              Document Document
                     3:21-cv-00661-wmc    3     Filed
                                                    #:09-17-2021
                                                       1-2 Filed:                Page 5 Page
                                                                             10/19/21   of 6 8 of 16




                 medical expense, future loss of earning capacity and the loss of the ability to lead a normal,
                 healthy and productive lifestyle.
                 12.      That the involuntary plaintiff, UnitedHealthcare of Wisconsin, Inc., paid or caused to be
                 paid certain expenses on behalf of the plaintiff, Heidi L. Miller, and as such, said involuntary
                 plaintiff has a right of subrogation under the laws of the State of Wisconsin and is a proper party
                 to this action.


                          FIRST CAUSE OF ACTION OF PLAINTIFF, CHRIS C. MILLER,
                                    AGAINST ALL NAMED DEFENDANTS

                 13.      That the plaintiff realleges and incorporates herein by reference as if more fully set forth
                 in full, the foregoing paragraphs of this Complaint.

                 14.     That your plaintiff, Chris C. Miller, is an adult and has been the husband of the co-
                 plaintiff, Heidi L. Miller, at all times material hereto.

                 15.    That prior to the slip and fall, which occurred on September 20, 2018, the plaintiffs
                 enjoyed a normal husband and wife relationship in all aspects and regards.

                 16.    That since the slip and fall of September 20, 2018, your plaintiff, Chris C. Miller, has
                 been denied the companionship and consortium of his wife, Heidi L, Miller, due to the injuries
                 she has sustained as a result of the negligence of the defendant, Walmart, Inc.,

                 17.     That your plaintiff, Chris C. Miller, has had to provide daily care for the physical
                 wellbeing of the plaintiff, Heidi L. Miller, and has been denied the companionship of his wife, up
                 to and including, normal recreational activities, socializing, household duties and consortium.

                 18.     That as a result of the negligence of the defendant, Walmart, Inc., your plaintiff, Chris C.
                 Miller, has had a drastic change in his lifestyle as it relates to his relationship with his wife and
                 co-plaintiff, Heidi L. Miller, and upon information and belief, said disruption will continue into
                 the foreseeable future.



        WHEREFORE, the plaintiffs, Heidi L. Miller and Chris C. Miller, demands the following relief:

                         a)       For money damages to be determined by a jury of twelve (12) as to each plaintiff
                                  named herein;

                         b)       For the determination of the subrogated claim of the involuntary plaintiff named
                                  herein;

                         c)       For the costs and disbursements of this action;

                         d)       For such other relief as the Court deems equitable and just.
Prepared by:
Atty. Gary S. Cirilli, State Bar #1000633
Cirilli Law Offices, S.C.
116 E. Davenport Street, Rhinelander WI 54501
(715) 369-3443
(715) 369-9137 - facsimile
            Case 2021CV000145
              Case:              Document Document
                     3:21-cv-00661-wmc    3     Filed
                                                    #:09-17-2021
                                                       1-2 Filed:       Page 6 Page
                                                                    10/19/21   of 6 9 of 16




        Dated this 17th day of September, 2021.
                                                  CIRILLI LAW OFFICES, S.C.
                                                  Attorneys for Plaintiffs

                  Electronically signed by:       Gary S. Cirilli
                                                  WI State Bar No. 1000633




Prepared by:
Atty. Gary S. Cirilli, State Bar #1000633
Cirilli Law Offices, S.C.
116 E. Davenport Street, Rhinelander WI 54501
(715) 369-3443
(715) 369-9137 - facsimile
            Case 2021CV000145
             Case:              DocumentDocument
                    3:21-cv-00661-wmc   4     Filed
                                                 #: 09-17-2021
                                                    1-2 Filed:                  Page 1Page
                                                                            10/19/21  of 1 10 of 16
                                                                                              FILED
                                                                                              09-17-2021
                                                                                              ONEIDA COUNTY
                                                                                              CLERK OF CIRCUIT
STATE OF WISCONSIN - CIRCUIT COURT - ONEIDA COUNTY                                            COURT
                                                                                              2021CV000145
                                                                                              Honorable Patrick F
HEIDI L. MILLER                                            Case No. 21 CV NEW                 O'Melia
3045 CRESCENT ROAD                                         Code No. 30107                     Branch 1
RHINELANDER WI 54501                                       Personal Injury

-and-

CHRIS C. MILLER
3045 CRESCENT ROAD
RHINELANDER, WI 54501

                                  Plaintiffs,
-and-

UNITEDHEALTHCARE OF WISCONSIN, INC
10701 W. RESEARCH DRIVE
WAUWATOSA, WI 53226

                                  Involuntary Plaintiff,

-vs-

WALMART, INC.
702 SW 8TH STREET
BENTONVILLE, AK 72716

                                   Defendants.


                                                DEMAND FOR JURY TRIAL


        The plaintiffs, Heidi L, Miller and Chris C. Miller, by their attorney, Gary S. Cirilli of Cirilli Law

Offices, S.C., hereby requests that the above matter be heard before a twelve (12) person jury.

        Dated this 17th day of September, 2021.

                                                           CIRILLI LAW OFFICES, S.C.
                                                           Attorneys for Plaintiffs

                 Electronically signed by:                 Gary S. Cirilli
                                                           WI State Bar No. 1000633
                                                           gary@cirillilaw.com
Prepared by:
Atty. Gary S. Cirilli, State Bar #1000633
Cirilli Law Offices, S.C.
116 E. Davenport Street, Rhinelander WI 54501
(715) 369-3443
(715) 369-9137 – facsimile
     Case 2021CV000145
      Case:              DocumentDocument
             3:21-cv-00661-wmc   5     Filed
                                          #: 09-27-2021
                                             1-2 Filed:                     Page 1Page
                                                                        10/19/21  of 1 11 of 16
                                                                                            FILED
                                                                                            09-27-2021
                                                                                            ONEIDA COUNTY
 STATE OF WISCONSIN                         CIRCUIT COURT                             ONEIDACLERK
                                                                                              COUNTY
                                                                                                   OF CIRCUIT
                                                                                            COURT
                                                                                            2021CV000145

HEIDI L. MILLER, ET AL.

v.                                                                                Case No. 21CV145

WALMART, INC., ET AL ..

                                        AFFIDAVIT OF SERVICE



STATE OF WISCONSIN                )
                               ) ss.
COUNTY OF DANE                    )

Melissa L. Gollmer, an adult resident of the State of Wisconsin, not a party to this action, being duly
sworn under oath deposes and says that on September 20, 2021, at 12:15 PM, in the City of Madison,
Dane County, Wisconsin, at 301 South Bedford Street, Suite 1, UnitedHealtbcare of Wisconsin Inc. was
served with an authenticated copy of the Electronic Filing Notice, Summons, Complaint, and Demand for
Jury Trial in the above-referenced matter by then and there leaving copies thereof with Steve Karis,

Customer Service, a person authorized to accept service on behalf CT Corporation System, Registered
Agent of said Corporation. Such copies were endorsed with my name, the date and time of service.




                                                                 Melissa L. Gollmer, Process Server
                                                                 Dane County Legal Notice, LLC
                                                                 6041 Monona Drive, Suite 105
                                                                 Madison, Wisconsin 53716
                                                                 (608)251-1181
Subscribed and sworn to before me
The A 4 day of September, 2021.


~ nef~,{trat_
My Commission expires       ff?,       ~V
     Case 2021CV000145
       Case:             DocumentDocument
             3:21-cv-00661-wmc   6     Filed
                                          #: 09-27-2021
                                             1-2 Filed:                     Page 1Page
                                                                        10/19/21  of 1 12 of 16
                                                                                           FILED
                                                                                           09-27-2021
                                                                                           ONEIDA COUNTY
 STATE OF WISCONSIN                          CIRCUIT COURT                            ONEIDA COUNTY
                                                                                           CLERK OF CIRCUIT
                                                                                           COURT
                                                                                           2021CV000145

HEIDI L. MILLER, ET AL.

v.                                                                                Case No. 21CV145

WALMART, INC., ET AL ..

                                        AFFIDAVIT OF SERVICE



STATE OF WISCONSIN                )
                               ) ss.
COUNTY OF DANE                    )

Melissa L. Gollmer, an adult resident of the State of Wisconsin, not a party to this action, being duly
sworn under oath deposes and says that on September 20, 2021, at 12:15 PM, in the City of Madison,
Dane County, Wisconsin, at 301 South Bedford Street, Suite 1, Walmart, Inc. was served with an
authenticated copy of the Electronic Filing Notice, Summons, Complaint, and Demand for Jury Trial in
the above-referenced matter by then and there leaving copies thereof with Steve Karis, Customer Service,
a person authorized to accept service on behalf CT Corporation System, Registered Agent of said
Corporation. Such copies were endorsed with my name, the date and time of service.




                                                                 Melissa L. Gollmer, Process Server
                                                                 Dane County Legal Notice, LLC
                                                                 6041 Monona Drive, Suite 105
                                                                 Madison, Wisconsin 53716
                                                                 (608)251-1181
Subscribed and sworn to before me
The· .2 :l. day of September, 2021.



 otary Public, Dane County, Wl
My Commission expires       Hz04--,Y
                             J
                     Case 2021CV000145
                      Case:              DocumentDocument
                             3:21-cv-00661-wmc   7     Filed
                                                          #: 10-06-2021
                                                             1-2 Filed:                                          Page 1Page
                                                                                                             10/19/21  of 1 13 of 16

STATE OF WISCONSIN                                  CIRCUIT COURT                                  ONEIDA COUNTY

Heidi L Miller et al vs. Walmart, Inc.                                                      Electronic Notice
                                                                                             Status Change
                                                                                         Case No: 2021CV000145



                                WALMART, INC.
                                702 SW 8TH STREET
                                BENTONVILLE AR 72716



                     For 2021CV000145, the electronic notice preference for Matthew Shawn Mayer,
                     Wisconsin attorney for UnitedHealthcare of Wisconsin, Inc., has changed.

                     Matthew Shawn Mayer has registered as an electronic notice party and has agreed to
                     file any documents and receive all communications from the court for this case
                     electronically. You will no longer need to provide traditional paper documents to this
                     party. You still need to provide traditional paper documents to the court and any other
                     parties who are not electronically filing.

                     If you have any questions regarding this notice, please contact our office at
                     715-369-6120.



                                                                                 Oneida County Circuit Court
                                                                                 Date: October 6, 2021




GF-208(CCAP), 03/2010 Electronic Notice Status Change
                                              This form shall not be modified. It may be supplemented with additional material.
      Case 2021CV000145
       Case:              DocumentDocument
              3:21-cv-00661-wmc   8     Filed
                                           #: 10-06-2021
                                              1-2 Filed:             Page 1Page
                                                                 10/19/21  of 1 14 of 16
                                                                                    FILED
                                                                                    10-06-2021
                                                                                    ONEIDA COUNTY
                                                                                    CLERK OF CIRCUIT
                                                                                    COURT
STATE OF WISCONSIN                         CIRCUIT COURT                      ONEIDA2021CV000145
                                                                                      COUNTY
                                              BRANCH 1


 HEIDI L. MILLER and
 CHRIS C. MILLER,

                  Plaintiffs,

 and

 UNITEDHEALTHCARE OF WISCONSIN,
 INC.,

                  Involuntary Plaintiff,
                                                              Case No. 21-CV-145
 v.                                                           Case Code No. 30107

 WALMART, INC.,

                  Defendant.


                                 NOTICE OF APPEARANCE


         PLEASE TAKE NOTICE that the law firm of Weld Riley, S.C. by Matthew S. Mayer

has been retained by and appears for Involuntary Plaintiff, UnitedHealthcare of Wisconsin, Inc.,

in the above-entitled action, and request is hereby made that copies of all papers subsequent to

the Summons and Complaint in said action be served upon it at the office address set forth

below.

         DATED this 6th day of October 2021.

                                              WELD RILEY, S.C.
                                              Attorneys for Involuntary Plaintiff,
                                              UnitedHealthcare of Wisconsin, Inc.
ADDRESS:
500 Third Street, Suite 800
P.O. Box 479
Wausau, WI 54402-0479                         BY: Electronically Signed by Matthew S. Mayer
715.845.8234 – telephone                           MATTHEW S. MAYER
715.848.1085 – facsimile                           State Bar No. 1001237
mmayer@weldriley.com
      Case 2021CV000145
       Case:              DocumentDocument
              3:21-cv-00661-wmc   9     Filed
                                           #: 10-18-2021
                                              1-2 Filed:                    Page 1Page
                                                                        10/19/21  of 1 15 of 16
                                                                                             FILED
                                                                                             10-18-2021
                                                                                             ONEIDA COUNTY
                                                                                             CLERK OF CIRCUIT
STATE OF WISCONSIN              CIRCUIT COURT             ONEIDA COUNTY                      COURT
                                                                                             2021CV000145


HEIDI L. MILLER, et al.,
                Plaintiffs,
and
UNITEDHEALTHCARE OF WISCONSIN, INC.                                Case No. 21-CV-0145

                Involuntary Plaintiff,                             Code No. 30107

                                                                   Hon. Patrick F. O’Melia
         v.
WALMART, INC.
                Defendant.


                                   NOTICE OF APPEARANCE


         PLEASE TAKE NOTICE that Stephen T. Trigg of Gass Turek LLC appears as counsel for

Defendant Walmart, Inc. in this action. A copy of all papers in this action should be served upon

the undersigned at the address stated below.

         Dated this 18th day of October, 2021.

                                                 GASS TUREK LLC
                                                 Attorneys for Defendant
                                                 Walmart, Inc.

                                                 Electronically signed by Stephen T. Trigg
                                                 Stephen T. Trigg, SBN 1075718
                                                 trigg@gassturek.com

241 North Broadway, Suite 300
Milwaukee, WI 53202
Phone: 414-223-3300
Fax: 414-224-6116
      Case 2021CV000145
       Case:              DocumentDocument
              3:21-cv-00661-wmc   10    Filed
                                           #: 10-18-2021
                                              1-2 Filed:                   Page 1Page
                                                                       10/19/21  of 1 16 of 16
                                                                                            FILED
                                                                                            10-18-2021
                                                                                            ONEIDA COUNTY
                                                                                            CLERK OF CIRCUIT
STATE OF WISCONSIN              CIRCUIT COURT             ONEIDA COUNTY                     COURT
                                                                                            2021CV000145


HEIDI L. MILLER, et al.,
                Plaintiffs,
and
UNITEDHEALTHCARE OF WISCONSIN, INC.                               Case No. 21-CV-0145

                Involuntary Plaintiff,                            Code No. 30107

                                                                  Hon. Patrick F. O’Melia
         v.
WALMART, INC.
                Defendant.


                                   NOTICE OF APPEARANCE


         PLEASE TAKE NOTICE that Tamar B. Kelber of Gass Turek LLC appears as counsel for

Defendant Walmart, Inc. in this action. A copy of all papers in this action should be served upon

the undersigned at the address stated below.

         Dated this 18th day of October, 2021.

                                                 GASS TUREK LLC
                                                 Attorneys for Defendant
                                                 Walmart, Inc.

                                                 Electronically signed by Tamar B. Kelber
                                                 Tamar B. Kelber, SBN 1101802
                                                 kelber@gassturek.com

241 North Broadway, Suite 300
Milwaukee, WI 53202
Phone: 414-223-3300
Fax: 414-224-6116
